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         UNITED STATES DISTRICT COUijT-
        SOUTHERN DISTRICT OF NEW YORK -                                                   -·-------··----··   .        ..
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                   Multidistrict Litigation No. I I-md-2296 (RJS)
                     Master Case File No. I 2-mc-2296 (RJS)
                                No. 12-cv-2652 (RJS)
                                No. I 3-cv-3736 (RJS)
                                No. 13-cv-3737 (RJS)
                                No. 13-cv-3738 (RJS)
                                No. 13-cv-3739 (RJS)
                                No. 13-cv-3740 (RJS)
                                No. 13-cv-3741 (RJS)
                                No. l 3-cv-3742 (RJS)
                                No. 13-cv-3743 (RJS)
                                No. 13-cv-3744 (RJS)
                                No. I 3-cv-3745 (RJS)
                                No. 13-cv-3746 (RJS)
                                No. 13-cv-3747 (RJS)
                                No. 13-cv-3748 (RJS)
                                No. I 3-cv-3749 (RJS)
                                No. I 3-cv-3750 (RJS)
                                No. l 3-cv-3751 (RJS)
                                No. 13-cv-3752 (RJS)
                                No. 13-cv-3753 (RJS)



IN RE TRIBUNE COMPANY FRAUDULENT CONVEYANCE LITIGATION




      MARC   S.   KIRSCHNER, AS LITIGATION TRUSTEE FOR THE
                      TRIBUNE LITIGATION TRUST,

                                             Plaintiff,

                                     VERSUS


                      DENNIS     J. FITZSIMONS et al.,
                                              Defendants.


                             OPINION AND ORDER
                               November 30, 20 I 8
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RICHARD J. SULLIVAN, Circuit Judge:

    This is the third Opinion and Order                                    I. BACKGROUND
issued by this Court resolving claims arising
out of the 2007 leveraged buyout ("LBO")                                       A. Facts 2
of the Tribune Company ("Tribune" or the
                                                                Prior to filing for bankruptcy in 2008,
"Company") and its subsequent 2008
                                                           Tribune was "America's largest media and
bankruptcy.      The multidistrict litigation
                                                           entertainment company," owning numerous
("MDL") in which these claims arise
                                                           radio and television stations and major
includes several actions brought by
                                                           newspapers, including the Chicago Tribune
Tribune's litigation trustee, Marc Kirschner
                                                           and the Los Angeles Times. (FitzSimons
(the ''Trustee"), in which he seeks to recover
                                                           Com pl. 1 116.) However, in the years
assets for Tribune's creditors. Now before
                                                           preceding the 2007 LBO, the newspaper
the Court are five motions to dismiss claims
                                                           publishing business - which made up
asserted against various individuals and
                                                           approximately 75% of Tribune's revenues -
entities who were involved in, and/or
                                                           experienced a consistent decline in
received payments following, the LBO
                                                           circulation and profits. (Id. 11 122-23.) In
transaction. (l l-md-2296, Doc. Nos. 5939,
                                                           fact, Tribune experienced shrinking profits
5938, 5942, 5933, 5928.) The relevant
                                                           even more acutely than the industry as a
claims are asserted in several complaints,
                                                           whole. (Id. 1 125.) Accordingly, in 2005,
including those filed in ( 1) Kirschner v.
                                                           the Company began a strategic review of its
FitzSimons,       No.     12-cv-2652      (the
                                                           businesses, and, in May of 2006, it entered
"FitzSimons Complaint") and (2) eighteen
                                                           into a leveraged recapitalization transaction.
tag-along actions, Nos. 13-cv-3736 through
                                                           (Id. 1126-27.)
13-cv-3753 (the "Tag-Along Complaints"). 1
For the reasons set forth below, all five
motions are GRANTED.                                       2
                                                              The following facts are taken from the Fifth
                                                           Amended Complaint (Doc. No. 2701 ("FitzSimons
                                                           Complaint" or "FitzSimons Comp!.")), and are
                                                           presumed to be true for the purposes of this motion,
                                                           see ATS! Commc'ns, Inc. v. Shaar Fund, ltd, 493
                                                           F.3d 87, 98 (2d Cir. 2007). In ruling on the relevant
                                                           motions, the Court has also considered the moving
                                                           Defendants' memoranda of law (Doc. No. 5941
                                                           ("Motion 3")), (Doc. No. 5940 ("Motion 4")), (Doc.
                                                           No. 5944 ("Motion 5")), (Doc. No. 6020 ("Motion
1
   The eighteen Tag-Along Defendants are: Brian            6"), and Doc. No. 60 I 7 ("Motion 7")), the Trustee's
Litman, Irene M. F. Sewell, Joseph A. Young,               opposition (Doc. No. 6137 ("Opp'n")), the moving
Patrick Shanahan, Gary Weitman, Betty Ellen                Defendants' replies (Doc. No. 6195 ("Motion 3
Berlamino, David P. Murphy, Tom E. Ehlmann, John           Reply")), (Doc. No. 6208 ("Motion 4 Reply")), (Doc.
F. Poelking, Pamela S. Pearson, James L. Ellis, Marc       No. 6200 ("Motion 5 Reply")), (Doc No. 6186
Schacher, Vincent R. Giannini, William P. Shaw,            ("Motion 6 Reply")), (Doc. No. 6184 ("Motion 7
Peter A. Knapp, John R. Hendricks, Vincent A.              Reply")), and all exhibits and declarations attached
Malcolm, and Gina M. Mazzaferri.                           thereto. In addition, unless otherwise noted, all
                                                           docket numbers refer to case number 1 l-md-2296.
                                                       2
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   Following the May 2006 transaction,              ,r 129.)In response to Tribune's troubling
33% of Tribune stock was held by two                economic realities, Stinehart "demanded"
constellations   of   family    trusts   and        that a special committee of independent
foundations - ( 1) the Chandler Trusts, which       directors be formed to "take prompt decisive
owned 20% of Tribune stock, and (2) the             action to enhance stockholder value." (Id. ,r
Robert     R.    McCormick       Foundation         130.) Accordingly, in September of 2006,
("McCormick      Foundation")     and    the        the Board announced the formation of a
Cantigny Foundation (together with the              special     committee      (the      "Special
McCormick            Foundation,         the        Committee"), which was composed of the
"Foundations"), which collectively owned            seven Independent Directors. (Id. ,r 136.)
approximately 13% of Tribune stock. (Id.)
                                                         In January 2007, private-equity investor
Tribune had an eleven-member board of
                                                    Sam Zell emerged as a bidder for Tribune
directors (the "Board"), which was chaired
                                                    (Id. ,r 145), and, on February 2, 2007, Zell -
by Tribune's President and Chief Executive
                                                    in     association    with   Equity     Group
Officer ("CEO"), Dennis FitzSimons, who
                                                    Investments ("EGI"), a company in which
also served as Chairman of the McCormick
                                                    he owned a controlling interest - proposed
Foundation and a board member of the
                                                    that EGI-TRB, an affiliate of EG I, buy all of
Cantigny Foundation. (Id. ,r,r 27, 38.) The
                                                    Tribune's outstanding stock pursuant to a
Board also included three trustees and/or
                                                    merger. (Id. ,r,r 76-78, 145-46). Over the
beneficiaries of the Chandler Trusts -
                                                    course of the next several weeks, Zell
Jeffrey Chandler, Roger Goodan, and
                                                    negotiated his proposal with Tribune and the
William Stinehart Jr. (the "Chandler
                                                    Special Committee, which sought the views
Directors"). (Id. ,r,r 35-37.) Finally, the
                                                    of the Chandler Trusts and the Foundations
Board included seven independent members
                                                    on a number of occasions. (Id. ,r,r 147-51.)
who neither served as Tribune officers nor
                                                    Zell and EGI also negotiated directly with
were affiliated with the Chandler Trusts or
                                                    the Chandler Trusts.           (Id. ,r 151.)
the    Foundations      (the   "Independent
                                                    Throughout these negotiations, Morgan
Directors") - Enrique Hernandez, Jr., Betsy
                                                    Stanley advised the Special Committee, and
D. Holden, Robert S. Morrison, William A.
                                                    Merrill Lynch, Pierce, Fenner & Smith Inc.
Osborn, J. Christopher Reyes, Dudley S.
                                                    ("Merrill Lynch") and Citigroup Global
Taft, and Miles D. White. (Id. ,r,r 28-34,
                                                    Markets, Inc. ("Citigroup") advised the
39.)
                                                    Board as a whole. (Id. ,r,r 14-15, 90, 92,
    In June of 2006 - soon after the                127, 137, 155-56, 167, 336-38.)
leveraged recapitalization transaction -
Stinehart, acting in his capacity as the               Meanwhile, Tribune Officers Chandler
trustee of the Chandler Trusts, wrote to the        Bigelow, Donald Grenesko, and Daniel
Board     expressing   dismay    over the
Company's deteriorating business.        (Id.

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Kazan 3 prepared projections forecasting               On February 13, 2007, the Board hired
Tribune's financial health through 2011 (the           accounting firm Duff & Phelps to provide a
"February         Projections")        while           solvency opinion for the LBO. 4 (Id. ~ 176.)
simultaneously "negotiat[ing] with Zell over           And on February 26, 2007, the Board hired
the amount of the special money incentives             GreatBanc Trust Company ("GreatBanc") to
they would receive if the LBO was                      serve as trustee of the ESOP and to evaluate
consummated." (Id.~~ 170-74.)                          the LBO transaction on the ESOP's behalf.
                                                       (Id. ~ 177.) Duff & Phelps also agreed to
     Ultimately, Zell and EGI submitted a
                                                       provide a separate, but substantially
revised proposal whereby Tribune would
                                                       identical, solvency opinion to GreatBanc to
enter into a two-step LBO transaction. (Id.
                                                       assist it in assessing the LBO. (Id. ~~ 178-
~~ 119, 150.) In the first step ("Step One"),
                                                       79.)
Tribune would borrow approximately $7
billion and execute a tender offer,                        By March 28, 2007, however, Duff &
purchasing about 50% of Tribune's                      Phelps advised the Board that it could not
outstanding shares at $34 per share. (Id. ~            provide an opinion as to Tribune's post-
211.) In the second step ("Step Two"),                 LBO solvency unless it incorporated what
Tribune would borrow another $3.7 billion,             the Duff & Phelps team considered an
purchase its remaining shares, and merge               impermissible consideration: $1 billion in
with the newly formed Tribune Employee                 tax savings that Tribune expected would
Stock Ownership Plan ("ESOP").         (Id. ~          result from converting the Company into a
211.)     At the conclusion of the LBO,                subchapter S corporation following the
Tribune would become a private company,                LBO.       (Id. ~~ 180-82, 185, 187.)
wholly owned by the ESOP. (Id. ~ 355.)                 Accordingly, the Board terminated Duff &
Zell' s proposal also included financial               Phelps' engagement to issue a solvency
benefits that would be awarded to the
Officer Defendants, and to the officers and            4
                                                          According to the FitzSimons Complaint, "[a]
directors of Tribune's subsidiaries, if the            'solvency opinion' is a recognized and commonly
LBO was consummated. (Id. ~~ 158-63; see               used vehicle in leveraged transactions to provide
                                                       assurances to lenders, the borrower (i.e., the target
also id. ~~ 49, 71.)                                   company itself)[,] and other participants that the
                                                       company will not fail after and as a result of the
    As the deal with Zell was being                    transaction, and that the transaction will not effect a
negotiated,    Tribune    hired    additional          fraudulent conveyance." (FitzSimons Comp!. ii 175.)
                                                       The Trustee alleges that solvency opinions are
financial advisors to perform various roles            "[t]ypically rendered by a reputable, independent
necessary to ensure a successful transaction.          financial advisory firm, . . . [are] the result of a
                                                       standardized, legally condoned methodology that is
                                                       designed to test whether a company will be able to
3
  The FitzSimons Complaint refers to Bigelow,          survive under the weight of the additional leverage it
Grenesko, and Kazan - together with Mark Hianik,       intends to incur[,] . . . [and are] generally a
Crane Kenney, and Harry Amsden - as the "Officer       prerequisite to any leveraged transaction on the scale
Defendants." (FitzSimons Comp I.,i,i41-47.)            of the Tribune LBO .... " (Id.)

                                                   4
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opm10n. (Id. ~ 187.) Nevertheless, on April                Knowing that a solvency opinion would
1, 2007, Duff & Phelps issued a "viability             be required before the transaction could
opinion" for GreatBanc' s benefit, in which it         close, and in light of the fact that Duff &
concluded that "the fair market value of               Phelps had declined to produce such an
Tribune's assets would exceed the value of             opm1on,     Tribune    management began
its liabilities on a post-transaction basis" and       soliciting bids from other valuation firms.
that Tribune "would be able to pay its debts           (Id.~~ 197-98.) On April 11, 2007, Tribune
as they became due." (Id. ~~ 188-89, 193.)             formally engaged Defendant Valuation
According to the Trustee, this opinion was             Research Corporation ("YRC") - a "lesser
·'the equivalent of a solvency opinion," with          known solvency opinion firm" - to provide
the exception that it took Tribune's expected          two solvency opinions that would be
tax savings into account. (Id. ~ 189.)                 presented to the Board prior to the
                                                       consummation of each step of the LBO. (Id.
     On April 1, 2007, the same day Duff &
                                                       ~~ 198, 201.)      VRC's engagement letter
Phelps produced its viability opinion for
                                                       provided that it would rely on a definition of
GreatBanc, GreatBanc's ESOP Committee
                                                       fair value that included Tribune's expected
approved the LBO. (Id. ~ 193.) Also on
                                                       tax savings. (Id. ~ 201.)
that    day,    the    Special    Committee
unanimously recommended that the Board                      On April 23, 2007, EGI-TRB made a
approve the LBO. (Id. ~ 211.) Accordingly,             $250 million investment in Tribune in
a majority of the Board - that is, six of the          exchange for nearly 1.5 million shares and a
Independent Directors and FitzSimons -                 $200 million promissory note, payable at
voted to approve the transaction.       (Id.)          Step Two of the LBO.            (Id. ~ 228.)
Dudley S. Taft, the seventh Independent                Thereafter, on May 9, 2007, Zell was
Director, was absent at the time of the vote,          appointed as a member of Tribune's Board.
and the Chandler Directors abstained;                  (Id. ~ 227.) Finally, on May 24, 2007, YRC
however, no director casted a dissenting               rendered its Step One solvency opinion,
vote. (Id.) Tribune then executed a voting             partially relying on the February Projections
agreement and registration rights agreement            in vouching for Tribune's financial health
with the Chandler Trusts in which the Trusts           after Step One. (Id. ~~ 274-79.) On June 4,
agreed to vote their shares in favor of the            2007, Tribune Officers Grenesko and
LBO       in  exchange     for   preferential          Bigelow delivered certificates to the major
registration rights.   (Id. ~ 204.)     This           banks that would be funding the LBO
agreement "virtually guaranteed shareholder            attesting that Tribune was "solvent as of that
approval for the LBO." (Id. ~ 205.) On                 date." (Id. ~ 273.) That same day, the
April 2, 2007, Tribune publicly announced              directors    and officers of Tribune's
that it had agreed to Zell and EGI's                   subsidiaries agreed to guarantee the LBO
proposal. (Id. ~ 226.)                                 debt against the subsidiaries' assets (id.
                                                       ~ 282), and Step One of the LBO closed

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(id.   ,r 287).Upon the close of Step One, the            Following Step Two, Zell was named
Chandler Directors left the Tribune Board.            President, CEO, and Chairman of the
(Id. ,r,r 35-37.)                                     Tribune Board. (Id. ,r 356.) However, soon
                                                      after the LBO was completed, Tribune
    In October of 2007, in advance of Step
                                                      experienced         financial       difficulties.
Two of the LBO, the Officer Defendants
                                                      Specifically, between 2007 and 2008, the
revised the February Projections, lowering
                                                      Company did not meet the projected growth
Tribune's expected financial performance
                                                      rate that management had forecasted in the
for the 2007 calendar year but raising
                                                      October Projections, and it experienced
predictions for Tribune's subsequent growth
                                                      significant declines in advertising revenue
rate over the next five years (the "October
                                                      that made it difficult to service its new debt.
Projections"). (Id. ,r 306.) YRC used these
                                                      (Id. ,r,r 357-58.) As a result of this financial
projections in completing its Step Two
                                                      distress, Tribune and many of its
solvency opinion. (Id. ,r 320.) Over the
                                                      subsidiaries filed for Chapter 11 bankruptcy
next few months, Morgan Stanley, the
                                                      on December 8, 2008. (Id. ,r 359.)
Board's advisor on the transaction, met
several times with the Board to discuss the                       B. Procedural History
solvency opinion. (Id. ,r 338.) And on
December 4, 2007, YRC met with the Board                   In 2010, the Official Committee of
and gave a "comprehensive presentation"               Unsecured Creditors of Tribune (the
regarding YRC's Step Two solvency                     "Unsecured Creditors") sought standing in
analysis and opinion. (Id.) Finally, on               the Bankruptcy Court to assert claims on
December 18, 2007, the Special Committee              behalf of Tribune's bankruptcy estate and
recommended that the Board rely on YRC's              subsequently filed claims against Tribune's
Step Two solvency opinion and effectuate              directors,    officers,  shareholders,   and
Step Two of the LBO. (Id. ,r 326.) The                financial advisors to claw back funds
Board did not hold an additional vote as to           transferred during the LBO. (See In re
whether Tribune should proceed with Step              Tribune Co., No. 08-bk-13141 (Bankr. D.
Two (id.); nevertheless, on December 20,              Del.) ("Bankr. Doc."), Doc. Nos. 5668,
2007, the directors and officers of Tribune's         6150.)        In connection with these
subsidiaries guaranteed the additional debt           proceedings, the Unsecured Creditors
necessary for Step Two (id. ,r 329) and the           undertook wide-ranging discovery from over
Company        completed       Step     Two,          30 persons and entities involved in the LBO,
repurchasing its remaining 119 million                "obtained and reviewed nearly 4.5 million
shares of common stock at $34 per share (id.          pages of documents" pursuant to Rule 2004
,r 353). As anticipated, at the close of Step         of the Federal Rules of Bankruptcy
Two, Tribune - now a private company -                Procedure, and deposed "a number of'
carried a debt burden of $13.7 billion. (Id. ,r       critical participants. (Bankr. Doc. 8173 at
354.)                                                 13, 19.)

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    Separately, Tribune's creditors filed           grounds, holding that the individual
numerous civil actions across the country           creditors' state-law fraudulent conveyance
against a variety of individuals and entities       claims were preempted by the Section
associated with Tribune. On December 19,            546( e)   safe-harbor   prov1s10n    of   the
2011, in light of these voluminous filings          Bankruptcy Code - an argument that this
and pursuant to 28 U.S.C. § 1407, the               Court had rejected in its September 23, 2013
Judicial Panel on Multidistrict Litigation          op1mon.    In re Tribune Co. Fraudulent
consolidated approximately seventy-four             Conveyance Litig., 818 F.3d 98 (2d Cir.
federal and state cases filed across the            2016). On July 22, 2016, the Second Circuit
country involving more than 5,000                   denied rehearing en bane, and the Second
defendants in the Southern District of New          Circuit's mandate issued on August 1, 2016.
York before Judge Holwell. See In re                (See Doc. Nos. 6895, 6896.)
Tribune Co. Fraudulent Conveyance Litig.,
                                                        On September 9, 2016, the individual
831 F. Supp. 2d 1371 (J.P.M.L. 2011). On
                                                    creditors filed a petition for a writ of
February 9, 2012, the consolidated action
                                                    certiorari with the United States Supreme
was reassigned to Judge Pauley. (Doc. No.
                                                    Court. See Deutsche Bank Tr. Co. Ams., et
499.) On July 23, 2012, the bankruptcy
                                                    al. v. Robert R. McCormick Found., et al.,
court confirmed a plan for Tribune's
                                                    No. 16-317. Around the same time, the
reorganization    and    transferred    the
                                                    Supreme Court granted certiorari in Merit
Unsecured Creditors' claims to the Trustee.
                                                    Management Group, LP v. FT! Consulting,
(Bankr. Doc. No. 12074; FitzSimons Compl.
                                                    Inc. - a Seventh Circuit case that had
~ 26.) On March 27, 2013, the MDL and all
                                                    rejected the Second Circuit's interpretation
related motions were transferred to my
                                                    of Section 546( e) and held that "the section
docket. (Doc. No. 2419.)
                                                    546( e) safe harbor [does not] protect[]
     On September 23, 2013, this Court              transfers that are simply conducted through
granted Defendants' motion to dismiss the           financial institutions (or the other entities
individual creditors' state-law fraudulent          named in section 546(e)), where the entity is
conveyance claims (the "Phase One                   neither the debtor nor the transferee but only
Motions"), finding that Section 362(a)(l) of        the conduit." 830 F.3d 690, 691 (7th Cir.
the Bankruptcy Code deprives individual             2016) (emphasis in the original).          On
creditors of standing to challenge the same         February 27, 2018, the Supreme Court
transactions     that    the    Trustee   1s        unanimously affirmed the Seventh Circuit's
simultaneously seeking to avoid. (Doc. No.          decision in Merit Management. See Merit
2710.) On September 30, 2013, the parties           Mgmt. Grp., LP v. FT/ Consulting, Inc., 138
filed a joint notice of appeal (see Doc. No.        S. Ct. 883 (2018). Subsequently, on April 3,
2730), and on March 29, 2016 - two and a            2018, Justice Kennedy and Justice Thomas
half years later - the Second Circuit               issued a "statement" concerning the petition
affirmed this Court's decision on different         for certiorari in Deutsche Bank, advising the

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parties that "consideration of the petition for       granted the shareholder defendants' motion
certiorari [would] be deferred for an                 to dismiss Count 1 of the FitzSimons
additional period of time ... [to] allow the          complaint, which sought to avoid billions of
Court of Appeals or the District Court to             dollars paid to Tribune's shareholders as
consider whether to recall the mandate,               actual fraudulent conveyances under the
entertain a Federal Rule of Civil Procedure           Bankruptcy Code. (Doc. No. 6924.) In that
60(b) motion to vacate the earlier judgment,          opinion, the Court declined to impute the
or provide any other available relief in light        intent of Tribune's officers to the
of [the Supreme Court's] decision in Merit            corporation for purposes of the Trustee's
Management ... given the possibility that             fraudulent conveyance claim. (Id.) The
there might not be a quorum in the                    Court also determined that, although the
[Supreme] Court[,]" presumably due to                 Independent Directors' intent could be
conflicts posed by the sheer number of                imputed to the corporation, the Trustee had
defendants in the MDL. Deutsche Bank Tr.              not sufficiently alleged that the Independent
Co. Americas v. Robert R. McCormick                   Directors acted with fraudulent intent. (Id.)
Found., 138 S. Ct. 1162 (2018). Therefore,            As a result of that Opinion and Order, the
on May 15, 2018, the Second Circuit                   Court terminated thousands of individual
recalled the mandate in Deutsche Bank "in             shareholders from this action.
anticipation of further panel review." (See
                                                          Following the Court's January 6, 2017
Doc. Nos. 7432, 33.)
                                                      Opinion and Order, the Court partially lifted
    Meanwhile, following the Court's                  the discovery stay, and, on April 5, 2017,
September 23, 2013 Opinion and Order, the             entered a case management plan setting a
Court issued an order establishing the timing         discovery schedule for the Trustee and the
and      procedures       for    Defendants'          non-moving Defendants. (Doc. No. 6952.)
contemplated motions to dismiss many of               The Court also directed that the moving
the remaining causes of action in the MDL             Defendants be treated as third-party
(the "Phase Two Motions"). (Doc. No.                  Defendants with respect to discovery. (Id.)
5697.)     Defendants then filed twelve               However, given the uncertainty occasioned
separate motions to dismiss, including the            by the Deutsche Bank petition for certiorari,
five present motions, in the summer of 2014.          the Court once again deferred ruling on the
The Court thereafter imposed a stay of                remaining Phase Two Motions pending
discovery pending resolution of the Phase             resolution of the petition. It was not until
Two Motions.                                          after the April 3, 2018 "statement" from
                                                      Justices Kennedy and Thomas, and the
   Ultimately, the Court deferred ruling on           subsequent recall of the mandate by the
the Phase Two Motions until after the                 Second Circuit in Deutsche Bank on May
Second Circuit issued its March 29, 2016              15, 2018, that the Court issued an order on
opm10n. On January 6, 2017, the Court                 June 18, 2018 directing the parties to file a

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joint letter regarding the status of discovery         Iqbal, 556 U.S. at 678. Thus, a pleading that
and "indicating how they wish[ ed] to                  offers only "labels and conclusions" or "a
proceed with respect to a potential global             formulaic recitation of the elements of a
resolution of this multi-district litigation[.]"       cause of action will not do." Twombly, 550
(Doc. No. 7552.) Thereafter, a number of               U.S. at 555. If the plaintiff "ha[s] not
parties, including the Trustee, indicated that         nudged [its] claims across the line from
it would not be fruitful to resume settlement          conceivable to plausible, [his] complaint
discussions until "the Court has rendered              must be dismissed." Id. at 570.
rulings on the pending motions to
                                                           In addition, to state a claim for actual
dismiss .... "(Doc.No. 7586).
                                                       fraudulent conveyance, a plaintiff must
          II.   STANDARD OF REVIEW                     satisfy the heightened pleading requirements
                                                       of Federal Rule of Civil Procedure 9(b), see
    To survive a motion to dismiss pursuant            In re Sharp Int'! Corp., 403 F.3d 43, 56 (2d
to Rule 12(b)(6) of the Federal Rules of               Cir. 2005), which requires a plaintiff to
Civil Procedure, a complaint must "provide             "state with particularity the circumstances
the grounds upon which [the] claim rests."             constituting fraud or mistake," Fed. R. Civ.
A TS! Commc 'ns, Inc. v. Shaar Fund, Ltd.,             P. 9(b). While "malice, intent, knowledge,
493 F.3d 87, 98 (2d Cir. 2007); see also Fed.          and other conditions of a person's mind may
R. Civ. P. 8(a)(2) ("A pleading that states a          be alleged generally," id., this "must not be
claim for relief must contain ... a short and          mistaken for license to base claims of fraud
plain statement of the claim showing that the          on       speculation     and       conclusory
pleader is entitled to relief .... "). To meet         allegations[,]" In re Carter-Wallace, Inc.,
this standard, a plaintiff must allege "enough         Sec. Litig., 220 F.3d 36, 39 (2d Cir. 2000).
facts to state a claim to relief that is               Accordingly, a complaint alleging an actual
plausible on its face." Bell At!. Corp. v.             fraudulent conveyance must "allege facts
Twombly, 550 U.S. 544, 570 (2007). "A                  that give rise to a strong inference of
claim has facial plausibility when the                 fraudulent intent." Id.; accord In re Sharp,
plaintiff pleads factual content that allows           403 F.3d at 56. "An inference is strong if it
the court to draw the reasonable inference             is cogent and at least as compelling as any
that the defendant is liable for the                   opposing inference one could draw from the
misconduct alleged." Ashcroft v. Iqbal, 556            facts alleged." Loreley Fin. (Jersey) No. 3
U.S. 662, 678 (2009). In reviewing a Rule              Ltd. v. Wells Fargo Sec., LLC, 797 F.3d 160,
 12(b)( 6) motion to dismiss, a court must             176-77 (2d Cir. 2015) (internal quotation
accept as true all factual allegations in the          marks omitted); accord In re Lyondell
complaint and draw all reasonable                      Chem. Co. ("Lyondell III"), 554 B.R. 635,
inferences in favor of the plaintiff. ATS!             652 (S.D.N.Y. 2016), reconsideration
Commc 'ns, 493 F.3d at 98. However, that               denied, No. 16-cv-518 (DLC), 2016 WL
tenet "is inapplicable to legal conclusions."          5818591 (S.D.N.Y. Oct. 5, 2016).          "In

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determining whether this strength-of-                       Tribune's officers and directors in breaching
inference requirement is met," the Court                    their fiduciary duties; and (3) they were not
assesses "the complaint in its entirety and                 unjustly enriched by the LBO. Finally, the
take[ s]   into   account     plausible   opposing          Chandler Directors also assert that ( 4) they
inferences."    Loreley, 797 F.3d at 177                    did not violate Sections 160 or 173 of the
(internal    quotation    marks    omitted).                Delaware     General    Corporation  Law
Although "the degree of particularity                       ("DGCL") in connection with the LBO. The
required" of a bankruptcy trustee may vary                  Court address each argument in turn.
depending on whether "the plaintiff has had
                                                                     1. Breach of Fiduciary Duty
an opportunity to take discovery of those
who may possess knowledge of the pertinent
                                                             a. The Impact of Insolvency on Corporate
facts," Devaney v. Chester, 813 F.2d 566,
                                                                    Directors' Fiduciary Duties
569 (2d Cir. 1987), the particularity
requirement still applies in cases where, as                    As a general matter, Delaware corporate
here, the bankruptcy trustee had access to                  directors owe fiduciary duties to their
"numerous documents" and "depositions of                    corporation. See, e.g., N. Am. Catholic
many witnesses" when crafting the Fifth                     Educ. Programming Found., Inc. v.
Amended Complaint, see In re Old CarCo                      Gheewalla, 930 A.2d 92, 101 (Del. 2007).
LLC, 435 B.R. 169, 192 (Bankr. S.D.N.Y.                     When the corporation is solvent, "those
2010).                                                      duties may be enforced by its shareholders,
                                                            who have standing to bring derivative
                  III.   DISCUSSION
                                                            actions on behalf of the corporation because
    A. Motion 3, Motion 4, and Motion 5                     they are the ultimate beneficiaries of the
                                                            corporation's growth and increased value."
    In Motion 3, Motion 4, and Motion 5,                    Id. (emphasis omitted). Indeed, "[i]t is well
subsidiary director and officer Durham J.                   established that the directors owe their
Monsma ("Monsma"), the Chandler Trusts                      fiduciary obligations to the corporation and
and the Foundations, and the Chandler                       its shareholders." Id. at 99. On the other
Directors move, respectively, to dismiss the                hand, "the general rule is that directors do
counts alleged against them in the                          not owe creditors duties beyond the relevant
FitzSimons Complaint. Specifically, these                   contractual terms." Id. (internal quotation
Defendants argue that ( 1) they did not
breach their fiduciary duties to Tribune or its             11491, 492.) However, in Motion 4, the Chandler
                                                            Trusts and the Foundations vigorously deny that they
subsidiaries 5 ; (2) they did not aid and abet              owed any fiduciary duties to Tribune. (Motion 4 at
                                                            8-19.) Because the Court dismisses the Trustee's
                                                            breach of fiduciary claims against the Chandler
5
  In Count 14 of the FitzSimons Complaint, the              Trusts and the Foundations on other grounds, the
Trustee alleges that the Chandler Trusts and the            Court assumes, without deciding, that the Chandler
Foundations owed fiduciary duties to Tribune                Trusts and the Foundations owed fiduciary duties to
because they functioned as "controlling shareholders        Tribune.
with respect to the [LBO]." (FitzSimons Comp!.
                                                       10
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marks omitted).         However, when a                      insolvency, the focus for Delaware directors
corporation becomes insolvent, "its creditors                does not change: directors must continue to
take the place of the shareholders as the                    discharge their fiduciary duties to the
residual beneficiaries of any increase in                    corporation and       its   shareholders by
value."    Id. at 101.      Accordingly, "the                exercising their business judgment in the
creditors of an insolvent corporation have                   best interests of the corporation for the
standing to maintain derivative claims                       benefit of its shareholder owners." Id.
against directors on behalf of the corporation
                                                                 Notwithstanding the Delaware Supreme
for breaches of fiduciary duties."          Id.
                            6                                Court's rejection of the "zone of insolvency"
(emphasis in the original).
                                                             theory, Delaware courts are split regarding
    Under Delaware law, a creditor's                         whether creditors - once they gain standing
standing to maintain a derivative action                     to sue - can assert derivative claims against
against a corporation's directors arises at the              a corporation based on conduct that pre-
precise moment that the corporation passes                   dates    the      corporation's    insolvency.
from solvency to insolvency. Id.; see also                   Compare Quadrant Structured Prod. Co. v.
Robert J. Stearn, Jr. & Cory D.                              Vertin, 102 A.3d 155, 180 (Del. Ch. 2014)
Kandestin, Delaware's Solvency Test: What                    (concluding that creditors of an insolvent
Is It and Does It Make Sense? A                              corporation have standing to assert claims
Comparison of Solvency Tests Under the                       for any breaches of fiduciary duty that
Bankruptcy Code and Delaware Law, 36                         "cause[d],      hasten[ed],    or    otherwise
Del. J. Corp. L. 165, 171 (2011) ("[U]pon a                  contribute[ d] to insolvency [which] occurred
corporation's insolvency, its creditors gain                 before the point of insolvency in fact.") with
standing to bring derivative actions for                     Trenwick Am. Litig. Tr. v. Ernst & Young,
breach of fiduciary duty, something they                     L.L.P., 906 A.2d 168, 202 (Del. Ch. 2006)
may not do if the corporation is solvent,                    (Strine, V.C.) (concluding that the litigation
even if it is in the zone of insolvency.").                  trust could not sue corporate directors for
Indeed, the Delaware Supreme Court                           breaches of fiduciary duties when "the
explicitly rejected the theory that a                        complaint fail[ ed] to plead facts supporting a
corporation operating in the "zone of                        rational inference that [the corporation] was
insolvency" owes some level of fiduciary                     insolvent before any of the challenged
duty to its creditors. Gheewalla, 930 A.2d                   transactions or that any of the challenged
at 101. Accordingly, "[w]hen a solvent                       transactions would, when consummated,
corporation is navigating in the zone of                     leave [the corporation] unable to satisfy its
                                                             creditors."), ajf'd sub nom. Trenwick Am.
6
  The Delaware Supreme Court has held that, even             Litig. Tr. v. Billett, 931 A.2d 438 (Del.
once a corporation becomes insolvent, creditors              2007).
cannot assert direct claims against the corporation's
directors for breaches of fiduciary duty. Gheewalla,
930 A.2d at I 03.

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   Here, in light of Gheewalla's rejection            Foundations, and the Chandler Directors, the
of the "zone of insolvency" theory, the               Court must determine when Tribune actually
Court concludes that creditors are limited            became insolvent.
under Delaware law to asserting breach of
 fiduciary duty claims for conduct that either             "Delaware courts define insolvency in
( 1) occurred while the corporation was               two ways .... 'First, a company is insolvent
insolvent, or (2) directly and definitively           if it is unable to pay its debts as they fall due
caused the corporation to become insolvent.           in the usual course of business. Second, a
Creditors cannot sue for actions that simply          company may be insolvent if it has liabilities
made a solvent corporation "less valuable as          in excess of a reasonable market value of
an entity," even if that corporation                  assets held."' Pereira v. Farace, 413 F.3d
eventually became insolvent. Trenwick, 906            330, 343 (2d Cir. 2005) (quoting U.S. Bank
A.2d at 201; see also In re Tropicana                 Nat 'l Ass 'n v. U.S. Timberlands Klamath
Entm 't, LLC, 520 B.R. 455, 471 (Bankr. D.            Falls, LLC, 864 A.2d 930, 947-48 (Del. Ch.
Del. 2014) (holding that a creditor "must             2004), vacated on other grounds, 875 A.2d
allege either that a corporation was insolvent        632 (Del. 2005)); see also N. Am. Catholic
or became insolvent as a result of the                Educ. Programming Found., Inc. v.
misconduct" in order to bring a derivative            Gheewalla, 2006 WL 2588971, at *10 (Del.
suit for breaches of fiduciary duty). The             Ch. Sept. 1, 2006) ("Insolvency may be
Court agrees that "[ a]ny lesser standard             demonstrated by either showing ( 1) a
would undercut the utility of the business            deficiency of assets below liabilities with no
judgment rule by permitting creditors to              reasonable prospect that the business can be
second-guess good faith action simply                 successfully continued in the face thereof, or
because the [corporation] ultimately became           (2) an inability to meet maturing obligations
insolvent[,]" Trenwick, 906 A.2d at 203, and          as they fall due in the ordinary course of
would conflict with Gheewalla's mandate               business.") (internal quotations omitted),
that corporate directors "must continue to            aff'd, 930 A.2d 92.
discharge their fiduciary duties . . . for the             In his opposition brief, the Trustee
benefit of its shareholder owners" even               contends that Tribune was insolvent under
while the corporation is in the zone of               both of these tests - the "inability to pay
insolvency, Gheewalla, 930 A.2d at 101.               debts when due" test and the "balance sheet"
            b. Insolvency Tests                       test. (Opp'n at 33-37.) However, the
                                                      Trustee also asks the Court to apply a third
    Thus, in order to determine whether the           test - the "unreasonably small capital" test -
Trustee - who represents the interests of             which posits that a company is insolvent
Tribune's creditors in this action - has              when "it is left with unreasonably small
standing to assert fiduciary duty claims              capital for the ongoing function of its
against Monsma, the Chandler Trusts, the              business[.]" (Opp'n at 33.) The Trustee

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cites three cases in support of this argument.        the day that Tribune's Board originally
(Id. at 34.) However, two of those cases              voted to approve the LBO.
applied the "unreasonably small capital" test
pursuant to different states' laws. See In re
                                                           In support of this theory, the Trustee
                                                      relies on Orr v. Kinder hill Corp., in which
Tronox Inc., 503 B.R. 239, 320 (Ban1a.
                                                      the Second Circuit considered the transfer of
S.D.N.Y. 2013) (applying Oklahoma law);
                                                      property from a corporation to its subsidiary
Moody v. Sec. Pac. Bus. Credit, Inc., 971
                                                      and the subsequent distribution of the
F.2d 1056, 1063 (3d Cir. 1992) (applying
                                                      corporation's shares in that subsidiary to its
Pennsylvania law). And the third - In re
                                                      own shareholders to be a "single, integrated
Suburban Motor Freight, Inc., 124 B.R. 984
                                                      transaction" under the New York Uniform
(Bankr. S.D. Ohio 1990) - involved a claim
                                                      Fraudulent Conveyance Act.           Orr v.
under Section 548 of the Bankruptcy Code,
                                                      Kinderhill Corp., 991 F.2d 31, 35 (2d Cir.
which explicitly lists insolvency and the
                                                      1993 ). As the Second Circuit subsequently
unreasonably small capital test as alternative
                                                      explained in a different case, "[i]t is well
predicates for bringing a constructive
                                                      established that multilateral transactions
fraudulent conveyance claim. See 11 U.S.C.
                                                      may under appropriate circumstances be
548(a)(l )(B)(ii).   Accordingly, the Court
                                                      'collapsed' and treated as phases of a single
sees no basis for applying the unreasonably
                                                      transaction for analysis under the [New
small capital test in assessing the Trustee's
                                                      York Uniform Fraudulent Conveyance
Delaware law fiduciary duty claims, and
                                                      Act]." HBE Leasing Corp. v. Frank, 48
declines to do so. Indeed, applying the
                                                      F.3d 623, 635 (2d Cir. 1995) (citing
unreasonably small capital test would be
                                                      Orr, 991 F.2d at 35-36). But the fact that a
totally    inconsistent   with      Delaware's
                                                      multilateral transaction can be treated as a
rejection of the "zone of insolvency" theory
                                                      single transaction under the New York
discussed above. See Gheewalla, 930 A.2d
                                                      Uniform Fraudulent Conveyance Act has
at 101.
                                                      little bearing on whether a court may
    The Trustee also urges the Court to               conduct a similar analysis under Delaware
consider Step One and Step Two of the LBO             law.
as a unitary transaction; that is, to include,
                                                          Moreover, even assuming that Delaware
"in assessing Tribune's solvency at the time
                                                      law does allow a court to collapse a
of Step One, the debt Tribune had already
                                                      multilateral transaction into a single
agreed it would incur just a few months later
                                                      transaction for purposes of assessing a
to consummate Step Two[.]" (Opp'n at 33
                                                      corporation's solvency, it would be
n.13.) According to the Trustee, if the Court
                                                      inappropriate to do so in this case. While
finds that the LBO rendered Tribune
                                                      the     Second     Circuit's    "collapsing"
insolvent, then it should conclude that
                                                      methodology "finds its most frequent
Tribune was insolvent as of April 1, 2007 -
                                                      application to lenders who have financed

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leveraged buyouts of companies that                    re Adelphia Commc'ns Corp., 512 B.R. 447,
subsequently become insolvent[,]" the                  491 (Bankr. S.D.N.Y. 2014)), ajf'd 562 B.R.
"paradigmatic" case for applying this                  211 (S.D.N.Y. 2016).
approach - collapsing two transfers where
"one transferee gives fair value to the debtor             Here, the relevant parties clearly knew
                                                       about both steps of the LBO, and, in fact,
in exchange for the debtor's property [i.e.,
transfer one], and the debtor then                     anticipated that both steps would be
gratuitously transfers the proceeds of the             consummated. However, the FitzSimons
                                                       Complaint makes clear that, even after the
first exchange to a second transferee [i.e.,
transfer two]" - bears little resemblance to           Board voted in favor of the LBO, and even
                                                       after Step One closed, it was never certain
the complex, two-step LBO transaction at
                                                       that Step Two would occur. (See, e.g.,
issue here. Frank, 48 F.3d at 635; see also
                                                       FitzSimons Comp!. ,r,r 242 ("[A]t the time of
United States v. Tabor Court Realty Corp.,
                                                       Step One, Step Two was, at a minimum,
803 F.2d 1288, 1302 (3d Cir. 1986) (treating
                                                       highly likely to occur."); 302 (describing
"two exchanges" as "part of one integrated
                                                       three scenarios pursuant to which Step Two
transaction" where "[t]he $4,085,000 in ...
                                                       would not close).)      In fact, the parties
loan proceeds which were lent immediately
                                                       specifically    designed     the    two-step
by the borrowing companies to [the holding
                                                       framework in light of the Foundations' and
company] were merely passed through the
                                                       the Chandler Trusts' concerns that "the deal
borrowers to [the holding company] and
                                                       would not actually close" "given the need to
ultimately to the selling stockholders .... ");
                                                       obtain     approval   from     the    Federal
Crowthers McCall Pattern, Inc. v. Lewis,
                                                       Communications Commission             " (Id.
129 B.R. 992, 998 (S.D.N.Y. 1991)
(collapsing transactions in light of the fact
                                                       ,r 149.)
that the monetary transfers "were merely                   Moreover, the FitzSimons Complaint
passed through the corporation to the                  contains several allegations that bely the
shareholders.").                                       Trustee's assertion that the LBO was one,
                                                       unitary transaction.     For example, the
    In In re Sabine Oil & Gas Corp., Judge
                                                       Trustee alleges that Zell - who joined
Chapman identified three factors to be
                                                       Tribune's Board on May 9, 2007 (over a
considered in determining whether to apply
                                                       month after the Board voted to approve the
the "collapsing doctrine" to a multilateral
                                                       LBO on April 1, 2007) - breached his
transaction: "[1] [w]hether all of the parties
                                                       fiduciary duties to Tribune in failing to
involved had knowledge of the multiple
                                                       prevent the LBO from closing. See In re
transactions; [2] [w ]hether each transaction
                                                       Walt Disney Co., 2004 WL 2050138, at *4
would have occurred on its own; and [3]
                                                       (Del. Ch. Sept. 10, 2004) ("[O]fficers and
[w ]hether each transaction was dependent or
                                                       directors become fiduciaries only when they
conditioned on other transactions." 54 7
                                                       are officially installed, and receive the
B.R. 503, 541 (Bankr. S.D.N.Y.) (citing In

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formal investiture of authority that                       With    respect   to   balance    sheet
accompanies such office or directorship[.]").          insolvency, the Trustee's assertions mostly
Similarly, the Trustee blames Tribune's                relate to Step Two of the LBO.
directors for "failing to act" in December of          Nevertheless, the Trustee does allege that
2007 when they, too, could have prevented              (1) "[p]rior to Step One, Tribune's year to
Step Two from closing. (FitzSimons Comp!.              date performance was already tracking the
, 327.) These allegations demonstrate the              downside case 'B' included in the February
Trustee's tacit acknowledgement that the               Projections"; (2) "[i]n advance of the Step
LBO was not a unitary transaction that                 One close, S&P reduced the rating on
occurred, or became inevitable, on April 1,            Tribune's notes to CCC+"; and (3) solvency
2007.                                                  firm "Houlihan [Lokey] determined it would
                                                       be tough to opine Tribune was solvent at
    Accordingly, the Court concludes that
                                                       Step One, and later stated that Tribune was
Step One and Step Two of the LBO were
                                                       insolvent at the time of Step One and was
independent transactions. Cf Sabine Oil &
                                                       more insolvent at the time of Step Two".
Gas Corp., 547 B.R. at 542 (applying the
                                                       (Opp'n at 35 (citing FitzSimons Comp!.
"collapsing doctrine" in light of the fact that        ,, 268, 245, 197).)         However, these
the second transaction "could [not] have
                                                       allegations fail to support a finding that
been stopped or have been reversed" after
                                                       Tribune's liabilities exceeded its assets as of
the first transaction occurred). The Court             the close of Step One. Indeed, the fact that
therefore analyzes the Trustee's insolvency            Tribune's financial situation was trending in
allegations at each step of the LBO.                   the wrong direction prior to Step One, and
   c. Allegations of Tribune's Insolvency              that Standard & Poor downgraded Tribune's
                                                       debt in advance of Step One, is totally
    Although the Trustee conclusorily                  irrelevant to the balance sheet test. And
alleges that "[ c]onsummation of Step One              while the FitzSimons Complaint does allege
rendered the Company balance sheet                     that Houlihan "commented" in December
insolvent, unable to pay its debts as they             2007 that "the Company was insolvent in
came due, and inadequately capitalized"                May and is more so now" (FitzSimons
(FitzSimons Comp!. , 288), the law is clear            Comp!. ,       197), the Trustee never
that "[a] pleading that offers labels and              affirmatively alleges that this was true, nor
conclusions or a formulaic recitation of the           does he bother to explain the basis for
elements of a cause of action will not do[,]"          Houlihan's "comment."          Moreover, as
Iqbal, 556 U.S. at 678 (internal quotations            demonstrated by the discussion of
omitted). Here, the Trustee fails to allege            insolvency above, the term "insolvent"
any facts suggesting that Tribune was                  carries more than one meaning - both
insolvent at Step One of the LBO under                 legally and colloquially - and Houlihan
either the "balance sheet" or the "inability to        never suggested that Tribune, at Step One of
pay debts when due" tests.                             the LBO, was insolvent pursuant to
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Delaware's balance sheet test. Thus, the                 "inability to pay debts when due" test must
Court concludes that the Trustee has                     fail.
inadequately pleaded that Tribune was
balance sheet insolvent at Step One.                         Nevertheless, the Court concludes that
                                                         the Trustee has adequately pleaded that
     As for the "inability to pay debts when             Tribune was rendered insolvent by, and at,
due" test, the Trustee's insolvency argument             Step Two of the LBO. Specifically, the
hinges upon his assertion that the Court                 Trustee alleges that Tribune took on $13. 7
"ha[s] to consider[]" Tribune's Step Two                 billion in debt over the course of the LBO
debt at Step One because the "inability to               (FitzSimons Comp!. , 354) even though
pay debts when due" test is "forward                     Tribune, "at the time the second step of the
looking      and       explicitly     require[ s]        LBO closed in December 2007, was worth
consideration of contemplated future                     no more than $10.4 billion" (id. , 20). This
transactions." (Opp'n at 34 n.14.) The                   allegation is sufficient to support a "balance
Trustee alleges, for example, that "[ s]hortly           sheet" theory that Tribune's liabilities
after Step One closed, Lehman reported that              outweighed its assets at Step Two.
after Step Two Tribune would be unable to
                                                             Unfortunately for the Trustee, however,
cover its estimated annual interest expense
                                                         his allegations of insolvency at Step Two are
from operations, let alone have free cash to
                                                         totally irrelevant to his fiduciary duty claims
pay down debt each year." (Opp'n at 37
                                                         against the Chandler Directors and the
(citing FitzSimons Comp!. ,               294).)
                                                         Chandler Trusts.        That is because the
However, the Trustee mischaracterizes
                                                         Chandler Directors resigned from Tribune's
Delaware's "inability to pay debts when
                                                         board at the close of Step One, and the
due" test. In Pereira, the Second Circuit
                                                         Chandlers Trusts no longer owned any
explicitly rejected an insolvency test similar
                                                         Tribune stock at the time of the Step Two
to the Trustee's proposed version of the
                                                         transaction. (FitzSimons Comp!. ,, 35-37,
"inability to pay debts when due" test as
                                                         491.) Thus, the Chandler Directors' and the
inapplicable under Delaware law, noting that
                                                         Chandler Trusts' fiduciary duties to Tribune
such a test "projects into the future to
                                                         terminated prior to Tribune's insolvency.
determine whether capital will remain
                                                         Accordingly, as explained above, the
adequate over time while the Delaware test
                                                         Trustee does not have standing to assert
looks solely at whether the corporation has
                                                         fiduciary duty claims against either the
been paying bills on a timely basis and/or
                                                         Chandler Directors or the Chandler Trusts.
whether its liabilities exceed its assets." 413
F.3d at 343 (emphasis added). Because the                    With respect to Monsma, the Trustee
Trustee never alleges that Tribune failed to             likewise fails to allege that Tribune's
pay any of its debts in a timely manner -                subsidiaries were insolvent as of Step One
prior to Step One or Step Two - his claim                of the LBO. (See FitzSimons Comp!. , 4 72
that Tribune was insolvent pursuant to the               (alleging that "the Subsidiary Guarantors
                                                    16
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were rendered insolvent by the LBO").)                        following the close of Step One, let alone
And the Trustee admits that Monsma "was                       activity demonstrating control over Tribune.
not a director or officer of a Subsidiary                     The Trustee therefore fails to allege that the
Guarantor during Step Two of the LBO."                        Foundations    owed    fiduciary   duties   to
(Opp'n at 65; see also FitzSimons                             Tribune following the close of Step One,
Complaint, Ex. B.)     Consequently, the                      and his breach of fiduciary duty claims
Trustee does not have standing to assert a                    against the Foundations must be dismissed
breach of fiduciary duty claim against                        for the same reasons as his claims against
Monsma either. 7                                              the Chandler Directors, the Chandler Trusts,
                                                              and Monsma.
     The Foundations are situated somewhat
differently, as they still owned 10% of                             2. Aiding and Abetting Liability
Tribune's stock at Step Two. (Id. 1 492.)
                                                                  The Trustee also alleges that Monsma,
But the Trustee's theory that the
                                                              the Chandler Trusts, the Foundations, and
Foundations owed fiduciary duties to
                                                              the Chandler Directors aided and abetted
Tribune is premised on the argument that the
                                                              Tribune's officers and directors in breaching
Foundations functioned as "controlling
                                                              their fiduciary duties to Tribune. But again,
shareholders with respect to the [LBO]."
                                                              the Trustee fails to allege any action by
(FitzSimons Compl. 1 492.) Specifically,
                                                              Monsma, the Chandler Trusts, the
the Trustee alleges that the Foundations
                                                              Foundations, or the Chandler Directors after
'·exercised their control over the company
                                                              the close of Step One, and he lacks standing
. . . [in] causing Tribune to transform the
                                                              to assert aiding and abetting claims for
LBO structure and ultimately enter into the
                                                              breaches that occurred at, or prior to, Step
LBO." (Id.) However, the Trustee fails to
                                                              One. As a result, the Trustee's aiding and
allege any activity by the Foundations
                                                              abetting claims against Monsma, the
                                                              Chandler Trusts, the Foundations, and the
7
  Moreover, any argument that Defendant Monsma                Chandler Directors must be dismissed as
breached his fiduciary duties to Southern Connecticut
Newspapers, Inc. and TMLS I, Inc. - the two                   well.
subsidiaries of which he was a director - would also
fail on the merits, since "Delaware law does not                         3. Unjust Enrichment
embrace the concept that a director of a wholly-
owned subsidiary owes a duty to second-guess the                  The Trustee also asserts claims for
business judgment of its parent corporation . . . . "
                                                              unjust enrichment against Monsma, the
Trenwick, 906 A.2d at 201. Thus, because the
Trustee has failed to allege that Southern Connecticut        Chandler Trusts, the Foundations, and the
Newspapers, Inc. or TMLS I, Inc. were insolvent               Chandler Directors.         Specifically, the
during Monsma's tenure as a director or officer of
either subsidiary, Monsma was free to simply sign             Trustee "seeks restitution from these
the Step One guarantees at Tribune's request. See id.         defendants and an order of this Court
("'There is no sound basis to hold that the boards of         disgorging all payments, transfers, credit,
wholly-owned subsidiaries must engage in their own
parallel merger consideration processes .... ").              profits, fees, benefits, incentives, and other

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things of value obtained by the defendants           dismisses the unjust enrichment claims
as a result of their wrongful conduct and            asserted against them.
breaches of fiduciary duties." (FitzSimons
Comp!.~ 611.)                                               4. DGCL Sections 160 and 173

                                                          Finally, the Trustee alleges that the
     The Trustee argues that, pursuant to
Delaware choice of law rules, Illinois law           Chandler Directors violated Sections 160
governs his unjust enrichment claim.                 and/or 173 of the DGCL by "willful[ly] or
(Opp'n at 125-26.) But because the same              negligent[ly]         approv[ing]      and/or
                                                     facilitati[ ng]" the transfer or "cash and/or
result would obtain under either Delaware or
Illinois law, the Court need not resolve this        property to [Tribune's] shareholders . . .
                                                     while Tribune lacked a sufficient surplus or
choice of law issue. Indeed, although the
                                                     net profits or was otherwise insolvent[.]"
elements of an unjust enrichment claim
                                                     (FitzSimons Comp!. 1 386.)           Notably,
differ slightly under Delaware and Illinois
                                                     Section 174 of the DGCL provides that
law, both states require that the plaintiff
                                                     corporate directors are "jointly and severally
allege either a mistake or "some type of
                                                     liable" for "any wilful or negligent
wrongful conduct" on the part of the
                                                     violation[ s]" of Section 160 or 173 of the
defendant. HP I Health Care Servs., Inc. v.
                                                     DGCL that occurred "under [their]
Mt. Vernon Hosp., Inc., 131 Ill. 2d 145, 161
                                                     administration." Del. Code Ann. tit. 8,
( 1989); see also In re Lear Corp. S 'holder
                                                     § l 74(a). DGCL Sections 160 and 173, in
Litig., 967 A.2d 640, 657 n. 73 (Del. Ch.
                                                     turn, forbid a Delaware corporation from ( 1)
2008).
                                                     "purchas[ing] or redeem[ing] its own shares
    Here, the Trustee does not argue that            of capital stock ... when the capital of the
Tribune mistakenly transferred assets to any         corporation is impaired or when such
of the defendants, and the only wrongful             purchase or redemption would cause any
conduct that he alleges against Monsma, the          impairment of the capital of the
Chandler Trusts, the Foundations, and the            corporation[,]" and (2) paying dividends
Chandler Directors is that they "rendered            when the corporation has no "surplus."8 Id.
[Tribune] insolvent and harmed its                   §§ 160, 173, 170.
creditors" "in dereliction of their fiduciary
                                                          Here, however, the Trustee admits that,
duties[.]"    (Opp'n at 131; see also
                                                     under Delaware law, the test for whether a
FitzSimons Compl. 11 609-11.) But the
                                                     corporation "has no 'surplus"' and whether
Court has already concluded that Monsma,
                                                     "its capital is 'impaired"' is equivalent to the
the Chandler Trusts, the Foundations, and
the Chandler Directors did not render
Tribune insolvent at Step One, and they              8
                                                       While not relevant to this opinion, Delaware law
never owed any fiduciary duties to Tribune's         allows corporations, under certain circumstances, to
                                                     pay dividends even if they do not have a "surplus."
creditors.    Therefore, the Court also
                                                     See Del. Code Ann. tit. 8, § I 70(a)(2).

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balance sheet insolvency test. (See Opp'n at               fraudulent conveyance - that is, one made
82); see also SV Inv. Partners, LLC v.                     "with actual intent to hinder, delay, or
ThoughtWorks, Inc., 7 A.3d 973, 982 (Del.                  defraud any entity to which the debtor was
Ch. 20 I 0) ("As a practical matter, the                   or became                  indebted."       Id.
[capital impairment] test operates roughly to              § s548(a)(l )(A). The Code also allows for
prohibit distributions to stockholders that                the avoidance of constructive fraudulent
would render the company balance-sheet                     conveyances, defined as transfers or
insolvent .... "). Once again, the Trustee's               obligations for which (1) the debtor received
failure to allege that Tribune was insolvent               less than "reasonably equivalent value in
at Step One proves fatal to the Trustee's                  exchange[,]" and (2) the debtor was, among
claim that the Chandler Directors violated                 other things, insolvent "on the date that such
DGCL Sections 160 and/or 173.                              transfer was made or such obligation was
                                                           incurred[.]" Id. § 548(a)(l)(B).
                  B. Motion 6
                                                               Here, the Trustee seeks to avoid and
    In Motion 6, certain Tribune executives
                                                           "claw back" severance payments made to
who were involuntarily terminated within
                                                           the Motion 6 Defendants following their
one year of the LBO (the "Motion 6
                                                           termination in the wake of the LBO (the
Defendants") move to dismiss the actual and                "Motion 6 Transfers").      The Motion 6
constructive fraudulent conveyance claims                  Defendants respond that the obligations
set forth in Count 34 of the FitzSimons                    underlying the Motion 6 Transfers were
Complaint and Count 2 of the Tag-Along                     incurred more than two years prior to
Complaints. 9                                              Tribune's filing for bankruptcy, and are
                                                           therefore not avoidable pursuant to 11
    Under     certain  circumstances,     the
                                                           U.S.C. § 548(a)(l). They also contend that
Bankruptcy Code authorizes a bankruptcy
                                                           the Trustee cannot avoid the Motion 6
trustee to avoid transfers of the debtor's
                                                           Transfers themselves because he has failed
property and "obligation[ s] ... incurred by
                                                           to allege (1) that they were made with an
the debtor" that were made or incurred by
                                                           actual intent to hinder, delay, or defraud
the debtor within two years of its filing for
                                                           Tribune's creditors, or (2) that they were
bankruptcy.       11 U.S.C. § 548(a)(l).
                                                           made for less than reasonably equivalent
Specifically, avoidance is authorized where
                                                           value.    The Court will address each
the transfer or obligation is an actual
                                                           argument in turn.
9
  The Motion 6 Defendants are: James L. Ellis,                1. Tribune's Obligations Under The
Dennis J. FitzSimons, Donald C. Grenesko, David
Dean Hiller, Timothy P. Knight, Timothy J. Landon,         Company's Transitional Compensation Plan
Thomas D. Leach, Luis E. Lewin, R. Mark Mallory,
Richard H. Malone, David P. Murphy, John E.                   The parties agree that the Motion 6
Reardon, Irene M.F. Sewell, Scott C. Smith, John J.
                                                           Transfers were made pursuant to Tribune's
Vitanovec, and Kathleen M. Waltz.

                                                      19
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Transitional     Compensation       Plan     for        Rothman v. Gregor, 220 F.3d 81, 88-89 (2d
Executive Employees, which was enacted in               Cir. 2000) ("For purposes of a motion to
1985 and last amended on July 19, 2006.                 dismiss, we have deemed a complaint to
(Doc. No. 5935-3 (the "Plan").) Under the               include . . . public disclosure documents
Plan, participants - defined as "[a]ny full-            required by law to be, and that have been,
time, key executive employee of Tribune                 filed with the SEC .... ") (internal citations
Company or any of its subsidiaries . . .                omitted).
designated by the Committee as being
covered by the Plan" - were eligible to                     The Motion 6 Defendants principally
"receive transitional compensation, in the              argue that the Trustee cannot avoid
amounts and at the times described in                   Tribune's obligations to make the Motion 6
paragraph 5 [of the Plan]," if they were                Transfers because those obligations were
involuntarily terminated within 36 months               incurred more than two years before Tribune
after a "Change in Control," itself defined to          filed for bankruptcy.      (Mot. 6 at 5.)
include     the    "[c]onsummation of a                 Specifically, the Motion 6 Defendants assert
reorganization, merger, consolidation or                that the obligations were incurred no later
other     transaction     involving     Tribune         than July 19, 2006, when the Plan was last
Company .... " (Id. §§ 1, 3, 4(c).) The                 amended - which is more than two years
LBO certainly constituted such a change of              before Tribune filed for bankruptcy on
control, and it is undisputed that the Motion           December 8, 2008.
6 Defendants were terminated within 36
                                                             The Trustee, by contrast, contends that
months of the LBO. (See Opp'n at I 02;
                                                        Tribune "did not become liable to make any
FitzSimons Comp!., Ex. C.) Thus, pursuant
                                                        severance payments to any of the Insider
to the Plan, the Motion 6 Defendants were
                                                        Payment Defendants until they were
eligible      to      receive      "transitional
                                                        terminated (and the other conditions to
compensation" following their termination.
                                                        payment under the Plan were met)." (Opp'n
Accordingly, the only question before the
                                                        at I 03.) That is, according to the Trustee, an
Court is when Tribune's "obligations" to
                                                        "obligation" is only incurred upon the
make the Motion 6 Transfers were incurred.
                                                        fulfillment of all conditions precedent, when
    As a threshold matter, the Motion 6                 payment is certain.
Defendants ask that the Court take judicial
                                                            Given the absence of a statutory
notice of the Plan, which is attached as
                                                        definition for the word "obligation" and the
Exhibit C to the Declaration of Amy Y. Cho
                                                        dearth of caselaw interpreting that term, the
and was included as Exhibit 10.7 to
                                                        Court looks to other provisions of the
Tribune's 2007 Form I 0-K filing. (Mot. 6 at
                                                        Bankruptcy Code for guidance. Indeed,
3 n.2.) In light of the fact that the Trustee
                                                        both the Bankruptcy Code and the Second
does not object to this request, the Court
                                                        Circuit appear to treat "debt" and
takes judicial notice of the Plan. See, e.g.,
                                                   20
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"obligation" as equivalent terms. See, e.g.,          contingent, matured, unmatured, disputed,
11 § U.S.C. 101(14A) (defining a "domestic            undisputed, legal, equitable, secured, or
support obligation" to mean "a debt that              unsecured[.]" Id. § 101(5)(A) (emphasis
accrues"    in   connection   with   domestic         added). Thus, even if a right to payment is
support); In re Next Wave Pers. Commc 'ns,            unliquidated, contingent, and disputed,
Inc., 200 F.3d 43, 56 (2d Cir. 1999)                  "such right still constitutes a claim under the
(equating a "transfer or obligation" under            Bankruptcy Code, and where a claim exists,
Section 548 with a "conveyance or                     so does a debt." Enron, 357 B.R. at 45
incurrence of debt").                                 (internal quotations omitted); see also
                                                      Pennsylvania Dep 't of Pub. Welfare v.
    But while the Trustee cites to a number           Davenport, 495 U.S. 552, 558 (1990)
of cases standing for the proposition that a          ("Section 101 ( 11) of the Bankruptcy Code
"debt" arises "when the debtor becomes                defines 'debt' as a 'liability on a claim.'
legally bound to pay[,]" In re Transpacific           This definition reveals Congress' intent that
Carriers Corp., 50 B.R. 649, 652 (Bankr.              the meanings of 'debt' and 'claim' be
S.D.N.Y.     1985), a.ff'd, 113   B.R.    139         coextensive.").     Accordingly, the Court
(S.D.N.Y. 1990), "the [caselaw] reveals an            concludes that a "debt" is incurred when a
obvious    trend    [towards]     interpreting        contract or agreement is formed, not when
'antecedent debt' [under Section 547]                 payment becomes due under that contract.
broadly and rejecting the proposition that
debt is only incurred as it becomes due[,]"               This conclusion applies with equal force
In re Enron Corp., 357 B.R. 32, 44 (Bankr.            to "obligations" under Section 548, and is
S.D.N.Y. 2006) (compiling cases). "Though             supported by the most relevant Section 548
these [more recent cases] applied the                 caselaw. For example, in In re lncentium,
'legally obligated to pay' standard, they             LLC, the bankruptcy court held that
concluded that the legal obligation arose not         severance payments made pursuant to the
. . . when the agreement was breached or              terms of an employment contract could not
payment due[,] but when ... the agreement             be    avoided    because     "the    original
was made." Id. at 44-45.                              Employment Agreement" was created more
                                                      than two years prior to the debtor's
    The Court concludes that this broader             bankruptcy filing,     even though the
definition of "debt" is more clearly                  transferee's employment was ultimately
supported by the statutory text. Specifically,        terminated within the applicable two-year
the term "debt" is defined by the Bankruptcy          window. 473 B.R. 264, 272 (E.D. Tenn.
Code to mean "liability on a claim." 11               2012). Accordingly, the Court holds that,
U.S.C. § 101(12). A "claim," in turn, is              for purposes of Section 548, an "obligation"
defined to include a "right to payment,               is incurred when a contract or agreement is
whether or not such right is reduced to               formed. There is no requirement that every
judgment, liquidated, unliquidated, fixed,            condition precedent set forth in the contract
                                                 21
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or agreement be fulfilled prior to the                 agreed to pay him a base salary of $850,000
triggering of the obligation.                          and an unspecified "severance package upon
                                                       termination of his employment[.]" TSIC,
     The Trustee next contends that, in the            428 B.R. at 107-08. After his employment
alternative, the Court should find that                was terminated in 2006, the parties entered
Tribune incurred the relevant obligation on            into a "settlement agreement" that "provided
April 1, 2007, "when it entered into the               for [the CEO] to receive $1.775 million in
Merger Agreement providing that the post-              severance, $3. 9 million in SERP benefits,
LBO Tribune entity would make the                      $300,000      in   secretarial  and     office
Executive Transition Payments." (Opp'n at              allowances, and up to $800,000 in
 I 04.)   As the Trustee explains in the               reasonable attorney's fees in negotiating the
FitzSimons Complaint, "[t]he Merger                    Settlement Agreement." Id. at 108. Under
Agreement expressly provided that the LBO              these circumstances, the court concluded
would constitute a 'Change of Control'                 that the debtor's obligation to pay the
under all of Tribune's various employee                transferee his severance package was
benefits plans, and that the surviving                 incurred in 2006 pursuant to the settlement
company - not just pre-LBO Tribune - was               agreement, rather than in 2002 under the
obligated to pay the Executive Transition              original employment agreement. The court
Payments[.]" (FitzSimons Compl. ,r 160;                explicitly noted that "[a]lthough the
see also id. ,r 638 (alleging that Tribune             Employment       Agreement     contemplated
'"incurred or reaffirmed the obligation to             'severance payments' and 'SERP benefits,'
make the Insider Payments" "[w]ithin two               the details of these benefits were not
years before the Petition Date[.]") (emphasis          finalized at the time the parties signed the
added).)                                               Employment [Agreement]." Id. at 114.

    However, the mere fact that Tribune                     Similarly, in TransTexas Gas, the debtor
"reaffirmed" its obligations pursuant to the           entered into an employment agreement with
Plan on April 1, 2007 does not alter the               its chief executive officer in 2000 providing
reality that Tribune incurred its obligation to        that "[ a]t termination, [he] would be entitled
make the Motion 6 Transfers at an earlier              to severance pay."         597 F.3d at 302.
date. And the two cases cited by the Trustee           Specifically, the contract provided that "[i]f
in support of its argument - TSIC, Inc. v.             he were dismissed for reasons other than
Thalheimer and In re TransTexas Gas                    cause, he would receive three million
Corp., 597 F.3d 298 (5th Cir. 2010) - are              dollars. If he were terminated for cause, his
wholly inapposite.                                     payment would be one and a half million
                                                       dollars. If he voluntarily resigned, he would
    In TSIC, the debtor's chief executive
                                                       be paid no severance." Id. Two years later,
officer entered into an employment contract
                                                       following a meeting of the board of
with the debtor in 2002 in which the debtor
                                                       directors, the debtor and the CEO "agreed
                                                  22
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that he would resign." Id. The parties then         outstanding securities" (Plan § 4( c)) - also
executed a "separation agreement" which             constituted a Change of Control pursuant to
provided for a three million dollar payment         the express terms of the Plan. Thus, the
to the CEO. Id. In holding that the debtor          LBO Merger Agreement did not in any way
incurred its obligation under Section 548           modify or supplement the terms of the Plan.
when the separation agreement, and not the
original employment agreement, was                      To be sure, the LBO merger agreement
formed, the court explained that the CEO            also provided that "the surviving company -
was likely not entitled to a three million          not just pre-LBO Tribune - was obligated to
dollar severance payment under his original         pay the Executive Transition Payments."
employment contact since he resigned and            (FitzSimons Complaint ,i 160 (emphasis
probably could have been terminated for             added).) But the fact that the surviving
cause. Id. at 307.                                  company expressly assumed Tribune's
                                                    obligations pursuant to the LBO merger
    Here, in contrast, the Plan specifically        agreement is irrelevant. Indeed, the merger
provided that participants were eligible to         agreement, which "simply provided that
"receive transitional compensation" in              Tribune, as the surviving corporation under
specific, predetermined amounts if they             the merger, would fully 'honor, fulfill, and
were involuntarily terminated within 36             discharge' its preexisting obligations under
months after a "Change in Control." As              the Plan[,] ... simply reflected a result that
explained above, the Trustee admits that the        would have occurred by operation of law in
Motion 6 Defendants were involuntarily              any event." (Mot. 6 at 5.) That is, Delaware
terminated within 36 months of the LBO.             law expressly provides that the "surviving or
(Opp'n at 102; FitzSimons Comp!., Ex. C.)           resulting corporation" of a merger is:
And while the FitzSimons Complaint alleges
that the LBO "Merger Agreement expressly                subject to all the restrict10ns,
provided that the LBO would constitute a               disabilities and duties of each of [the
'Change of Control' under all of Tribune's             constituent] corporations so merged
various      employee      benefit   plans"            or consolidated; and all ... rights of
(FitzSimons Comp!. ,i 160), the LBO - as a             creditors and all liens upon any
"reorganization, merger, consolidation or              property of any of said constituent
other    transaction    involving   Tribune            corporations shall be preserved
Company" in which "persons who were the                unimpaired, and all debts, liabilities
shareholders of the Tribune Company                    and duties of the respective
immediately prior to such reorganization,              constituent      corporations     shall
merger, consolidation or other transaction             thenceforth attach to said surviving
[did] not, immediately thereafter, own,                or resulting corporation, and may be
directly or indirectly, 50% or more of the             enforced against it to the same extent
combined voting power of the then
                                               23
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    as if said debts, liabilities and duties           obligations under the contract are triggered
    had been incurred or contracted by it.             by the fulfillment of any conditions
                                                       precedent set forth in that contract. Here,
Del. Code Ann. tit. 8, § 259. Therefore, the           the relevant contract was "formed" as to
merger agreement did no more than                      each of the Motion 6 Defendants on the later
"reaffirm" that Tribune was legally                    of two dates: (1) the date on which each
obligated to honor its prior contracts and             Defendant became a participant under the
abide by the terms and conditions set forth            Plan, or (2) the date on which the Plan was
in the Plan. See In re Incentium, 4 73 B.R. at         last substantively amended. Put simply, the
272 (holding that an obligation to make                Trustee cannot avoid Tribune's obligations
severance payments was incurred as of the              to make the Motion 6 Transfers to any
date of the transferee's employment                    Motion 6 Defendant who was a participant
agreement, and not a subsequent separation             of the Plan as of December 7, 2006 - two
agreement that incorporated the debtor's               years and one day before Tribune filed for
obligation under the employment agreement,             bankruptcy.
since the obligation allegedly created by the
separation agreement was "the same                         Significantly, the FitzSimons Complaint
severance obligation created by the original           affirmatively alleges that two of the Motion
Employment Agreement and was part of the               6 Defendants - Dennis J. FitzSimons and
overall compensation package negotiated to             Donald C. Grenesko - were "full-time, key
hire the defendant as the debtor's CEO.").             executive employee[ s]" of Tribune as of at
                                                       least September 2006, when Tribune's
    As a last resort, the Trustee protests that        Special Committee was formed.             (See
the Motion 6 Defendants' argument - that               FitzSimons Compl. ,r,r 136, 27, 43.) Thus,
Tribune "became obligated to pay them                  Tribune's      obligations   to   Defendants
severance from the moment it adopted [the              FitzSimons and Grenesko are clearly not
Plan] back in 1985 (or in 2006, when the               avoidable. As for the remaining Motion 6
Plan was last amended)" - would lead to the            Defendants, the FitzSimons Complaint does
"patently absurd" result that Tribune                  not even attempt to allege when they were
"became obligated to pay at least some of              hired by Tribune or otherwise became Plan
[the Motion 6 Defendants] severance before             participants. 10 Given this absence of factual
they were even employed by Tribune."
(Opp'n at 103 (emphasis in the original).)             10
                                                          Indeed, the Tag-Along Complaints do not allege
                                                       any specific details regarding the relationship
    But the Trustee's reductio ad absurdum             between the Tag-Along Defendants and Tribune, let
                                                       alone when they became full-time, key executive
argument does not undermine the Court's
                                                       employees of Tribune or its subsidiaries. (See, e.g.,
holding that, for purposes of Section 548, an          13-cv-3737, Doc. No. 21 (alleging merely that
"'obligation" is incurred when a contract is           "Defendant Sewell was an insider as defined by
                                                       section 101(31) of the Bankruptcy Code at the time
formed, and not when the debtor's                      the Transfers occurred and/or were arranged[,]" that
                                                       "[t]he Tribune Company . . . made one or more
                                                  24
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allegations, the Trustee has failed to "plead[]              trustee to avoid a transfer made "with actual
factual content that allows the court to draw                intent to hinder, delay, or defraud any entity
the reasonable inference that the defendant                  to which the debtor was or became . . .
is liable for the misconduct alleged." Iqbal,                indebted." 11 U.S.C. § 548(a)(l)(A). Here,
556 U.S. at 678. See In re Bernard L.                        the Trustee's allegations of actual fraudulent
Mada.ff Inv. Sec. LLC, 458 B.R. 87, 115                      intent with respect to the Motion 6 Transfers
(Bankr. S.D.N.Y. 2011) ("To the extent that                  mirror his allegations regarding the
the Court is unable to determine whether a                   "shareholder transfers" that were the subject
transfer falls under the look-back period of                 of this Court's January 6, 2017 Opinion and
any applicable law, the Trustee's claim to                   Order. (Doc. No. 6924; see FitzSimons
avoid it as a Constructive Fraudulent                        Complaint 1 639 ("Tribune ... made the
Transfer fails under Rule 8(a) to provide                    Insider Payments with the actual intent to
'the defendant fair notice of what the ...                   hinder, delay, and defraud Tribune's
claim is and the grounds upon which it                       creditors, which intent is demonstrated by,
rests."') (quoting Erickson v. Pardus, 551                   among other things, the facts set forth in
U.S. 89, 93 (2007)).       Accordingly, the                  Paragraphs 379 and 380, which are
Trustee has failed to state a claim for                      incorporated herein by reference.").)
avoidance of Tribune's obligations under the                 Indeed, the Trustee argues that the Motion 6
Plan.                                                        Transfers constituted actual fraudulent
                                                             conveyances because they were "made
          2. The Motion 6 Transfers                          pursuant to the Merger Agreement
                                                             documenting the LBO and were intrinsically
    Of course, the Trustee also seeks to
                                                             tied to and made part of the LBO." (Opp'n
avoid the actual Motion 6 Transfers
                                                             at 108.)
themselves, which were indisputably made
during the two-year window preceding                             However, this Court has already held
Tribune's bankruptcy filing. The Trustee                     that the LBO did not constitute an actual
seeks to avoid these transfers as both actual                fraudulent conveyance. (See Doc. No. 6924
and constructive fraudulent conveyances.                     (finding that the Trustee "has ... failed to
The Court will address each theory in turn.                  allege that Tribune entered the LBO 'with
                                                             actual intent to hinder, delay, or defraud' its
      a. Actual Fraudulent Conveyance
                                                             creditors and fails to state a claim upon
   As noted above, Section 548 of the                        which relief may be granted .... ").)
Bankruptcy Code authorizes a bankruptcy                      Accordingly, for the reasons set forth in the
                                                             January 6, 2017 Opinion and Order, the
                                                             Court concludes that the Trustee has failed
payments to Defendant Sewell in the year prior to the
Petition Date[,]" and that "[t]he Transferor made the
                                                             to plead that the Motion 6 Transfers were
Transfers to Defendant Sewell during the Preference          actual fraudulent conveyances.
Period in an amount not less than $387,850.00.")).

                                                        25
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  b. Constructive Fraudulent Conveyance              "severance payment[s] was for less than
                                                     reasonably equivalent value" after avoiding
    Having failed in his actual fraudulent           the underlying obligation, which had been
conveyance claim, the Trustee nevertheless           incurred after the transferee's termination);
argues that the Motion 6 Transfers can still         TransTexas Gas, 597 F.3d at 307 (same).
be avoided as constructive fraudulent
conveyances because they were not made                   Contrary to the Trustee's unsupported
for reasonably equivalent value.         In          assertion, severance payments are often
assessing reasonably equivalent value, a             included in corporate employment packages
court must determine "whether the debtor             to entice well-qualified applicants to come
has received value that is substantially             work for an employer, and can therefore be
comparable to the worth of the transferred           made for reasonably equivalent value under
property." BFP v. Resolution Trust Corp.,            certain circumstances.       See, e.g., In re
511 U.S. 531, 548 (1994); see also In re             Incentium, 473 B.R. at 272 (noting that a
Churchill Mortg. Inv. Corp., 256 B.R. 664,           severance package was "part of the overall
678 (Bankr. S.D.N.Y. 2000) ("Defined                 compensation package negotiated to hire the
quantitatively, the debtor should receive a          defendant as the debtor's CEO[,]" and
fair equivalent or an amount not                     explaining that "[i]t is certainly not unusual
disproportionately small as compared with            for an employment contract designed to
the value of the property or obligation the          attract a high level executive to contain a
debtor has given up." (internal quotation            severance obligation in the event that the
marks omitted)), ajf'd sub nom., Balaber-            executive is terminated without cause.") In
Strauss v. Lawrence, 264 B.R. 303                    fact, the Plan at issue here notes that it was
(S.D.N.Y. 2001).                                     adopted by Tribune's board of directors for
                                                     that very reason - "to attract and retain
    Here, the Trustee claims that severance          executives of outstanding competence .... "
payments are made for less than reasonably           (Plan at 1.)
equivalent value "as a matter of law"
because "[ s]everance, by definition, is paid            Even more fundamentally, the Trustee's
only to former employees who no longer               argument fails because transfers made in
provide value of any kind to the transferring        satisfaction of unavoidable obligations are
employer and who received regular salaries           per se made for reasonably equivalent value.
or other compensation for their work while           See, e.g., In re Incentium, 473 B.R. at 272
they were employed." (Opp'n at 105.)                 ("The transfers of severance pay to the
Once again, the Trustee is seriously                 defendant satisfied the prior, unavoidable
mistaken, and the two cases cited in support         severance obligation, so the debtor received
of his erroneous claim do not stand for such         'value' in exchange for the transfers . . .
a proposition. See TSIC, 428 B.R. at 115             [that was] 'reasonably equivalent' to the
(finding that the debtor's transfer of               value of the severance obligation .... "); In

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re Trinsum Grp., Inc., 460 B.R. 379, 388               loyalty, and the Trustee cites no caselaw or
(Bankr. S.D.N.Y. 2011) (holding that                   authority suggesting that a breach of
transfers made in satisfaction on an                   fiduciary duty can be used under the
underlying obligation are "presumed" to be             Bankruptcy Code to avoid an otherwise
made "for value"). Indeed, the Bankruptcy              unavoidable payment.       Thus, while the
Code "expressly includes 'satisfaction ... of          Trustee may certainly recover some or all of
a present or antecedent debt of the debtor' in         the monies paid to the Motion 6 Defendants
its definition of 'value."' In re Wilkinson,           as damages arising out of his breach of
196 F. App'x 337, 343 (6th Cir. 2006)                  fiduciary duty claims, he may not avoid the
(quoting     11    U.S.C.    § 548(d)(2)(A)).          Motion 6 Transfers pursuant to Section 548
Accordingly, the Court concludes that the              of the Bankruptcy Code. 11
Motion 6 Transfers were made for
reasonably equivalent value.                                              C. Motion 7

    Finally, the Trustee argues that "an                   The Bankruptcy Code also authorizes a
employee who breaches the duty of loyalty              bankruptcy trustee to avoid "preference"
owed to his or her employer has no right to            payments, which are defined as transfers of
severance or any other compensation                    property made by an insolvent debtor to a
benefits." (Opp'n at 105.) Therefore, the              creditor "for or on account of an antecedent
Trustee asks that the Court avoid at least             debt owed by the debtor" that put the
those transfers made to Motion 6 Defendants            creditor in a better position than he or she
against whom the Trustee asserts a claim for           would otherwise be in post-bankruptcy. 11
breach of the duty of loyalty.                         U.S.C. § 547(b). Under most circumstances,
                                                       a trustee can only avoid preference
    But while it may be true as a matter of            payments made "on or within 90 days
fiduciary duty law that a corporation can              before" the debtor filed for bankruptcy. Id.
recover compensation paid to an officer or             § 547(b)(4). However, if the creditor was an
director who breached her duty of loyalty,             "insider" "at the time of such transfer[,]" the
see, e.g., Citron v. Merritt-Chapman & Scott           trustee may claw back payments made
Corp., 409 A.2d 607, 611 (Del. Ch.
1977), aff'd, 407 A.2d 1040 (Del. 1979), the           11
                                                          To the extent that the arguments set forth in Motion
Court's conclusion that Tribune received               6 apply to other, similarly situated defendants who
                                                       did not join the motion, such as Vincent A. Malcolm
reasonably equivalent value for the Motion 6           and Marc S. Schacher, the Court also dismisses the
Transfers rests solely on the fact that the            claims set forth in Count 34 of the FitzSimons
transfers were made in satisfaction of                 Complaint and Count 2 of the Tag-Along Complaints
                                                       against them. See, e.g., Wachtler v. Cty. of Herkimer,
Tribune's unavoidable obligation, pursuant             35 F.3d 77, 82 (2d Cir. 1994) ("The district court has
to the Plan, to make those transfers. Indeed,          the power to dismiss a complaint sua sponte for
                                                       failure to state a claim ... so long as the plaintiff is
there is nothing in the Plan indicating that it
                                                       given notice and an opportunity to be heard.")
is voidable upon a breach of the duty of               (internal quotations marks and citations omitted).

                                                  27
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within a year of the bankruptcy petition. Id.                          1. The Insider Requirement
As relevant here, the Bankruptcy Code
defines a corporate insider to include a                           As explained above, Section 54 7 allows
director or officer of the corporation.            11         a bankruptcy trustee to avoid preference
U.S.C § 101(31)(B).     12                                    payments made up to a year prior to the
                                                              filing of a bankruptcy petition if the creditor
    In Count 35 of the FitzSimons Complaint                   receiving those payments was an insider "at
and Count 1 of the Tag-Along Complaints,                      the time of such transfer[.]" 11 U.S.C. §
the Trustee seeks to avoid payments made to                   547(b)(4).
certain employees within one year of
Tribune's bankruptcy filing (the "Motion 7                        Despite the apparent clarity of this
Transfers"). In Motion 7, the majority of                     temporal language, the parties dispute what
those      employees    (the   "Motion      7                 it means to be an insider at the time of a
Defendants") seek dismissal of those                          transfer. Specifically, the Trustee contends
claims. 13    Specifically, the Motion 7                      that "a claim for preference may be stated if
Defendants argue that the Trustee has failed                  the transferee was an insider when the
to allege that they were insiders at the time                 payment was arranged, and the transfer was
the relevant transfers were made, and that,                   made within the one year look-back period
accordingly, he cannot avoid transfers made                   applicable to preference claims against
more than ninety days before Tribune filed                    insiders." (Opp'n at 109 (emphasis added).)
for bankruptcy. For the reasons that follow,                  According to the Trustee, then, "the time of
the Court agrees.                                             such transfer" can include both the date on
                                                              which the transfer was "arranged" and the
                                                              date on which the transfer actually occurred.
                                                              Unfortunately for the Trustee, this theory
                                                              runs contrary to both the statutory text and
                                                              relevant precedent.
12
   Courts "regularly" treat the examples of "insiders"
set forth in Section IO I (31) of the Bankruptcy Code
as "illustrative of types of insider relationships and
                                                                  In Barnhill v. Johnson, the Supreme
not as an exhaustive list." In re Longview Aluminum.          Court held that a transfer of an "ordinary
l.LC, 657 F.3d 507,509 (7th Cir. 2011).                       check" does not occur for purposes of
13
   The Motion 7 Defendants are:        Betty Ellen            Section 547(b)(4) until the bank honors the
Berlamino, Tom E. Ehlmann, James L. Ellis, Dennis             check. 503 U.S. 393 (1992). In so holding,
J. FitzSimons, Vincent R. Giannini, Donald C.
Grenesko, John R. Hendricks, David Dean Hiller,
                                                              the Court explicitly rejected the petitioner's
Peter A. Knapp, Timothy P. Knight, Timothy J.                 theory that the transfer occurred on "the date
Landon, Thomas D. Leach, Luis E. Lewin, Brian F.              he received the check." Id. at 395. Indeed,
Litman, R. Mark Mallory, Richard H. Malone, Gina
M. Mazzaferri, David P. Murphy, Pamela S. Pearson,            the Supreme Court repeatedly emphasized
John F. Poelking, John E. Reardon, Irene M.F.                 that the transfer did not take effect "until the
Sewell, Patrick Shanahan, Scott C. Smith, Kathleen
                                                              moment of honor." Id. at 401; see also id. at
M. Waltz, and Gary Weitman.

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400 ("For the purposes of payment by                   the time of the transfer." In re F & S Cent.
ordinary check, therefore, a 'transfer' as             Mfg. Corp., 53 B.R. 842, 849 (Bankr.
defined by § 101(54) occurs on the date of             E.D.N.Y. 1985); see also In re Vaniman
honor, and not before.") Thus, the Supreme             Int'!,   Inc.,   22   B.R.   166,   189   (Bankr.
Court made clear that a transfer occurs at the         E.D.N.Y. 1982) ("That [the transferees]
precise point in time when "the [creditor] no          ceased to be [insiders] simultaneously with
longer ha[s] a claim against the debtor." Id.          the transfers is of no significance."); In re
at 399-400.                                            EECO Inc., 138 B.R. 260, 264-65 (Bankr.
                                                       C.D. Cal. 1992) (explaining that "the
    Here, the Motion 7 Defendants still had            transfer occurred when it was arranged"); In
a claim against Tribune when the Motion 7              re Consol. Indus. Corp., 292 B.R. 354, 363
Transfers were "arranged." In fact, the                (N.D. Ind. 2002), rev 'd and remanded sub
Motion 7 Defendants had a claim against                nom. Freeland v. Enodis Corp., 540 F.3d
Tribune up until the exact moment when                 721 (7th Cir. 2008).
they actually received the transfers.
Accordingly, because the transfers occurred                The Court is not persuaded by the
at the precise moment that the Motion 7                reasoning in any of those cases - three of
Defendants received payment, Section 547               which were decided before Barnhill. In fact,
requires that the Motion 7 Defendants be               In re EECO Inc. - which explicitly relied
insiders at that moment.                               upon the Ninth Circuit's pre-Barnhill
                                                       holding that "[a] debtor's payment by check
     Section 547(e)(2), which defines a                on an existing debt, presented to the bank
 transfer "for the purposes of [Section 54 7 of        within a reasonable time and honored by the
 the Bankruptcy Code,]" bolsters this                  bank, is deemed made at the time the debtor
 conclusion. Pursuant to Section 547(e)(2),            gave the check to the creditor" - can be
 "a transfer is made at the time such transfer         rejected out of hand.       138 B.R. at 264
 takes effect between the transferor and the           (quoting In re Kenitra, Inc., 797 F.2d 790,
_transferee . . . ."        This definition is         791 (9th Cir. 1986)).         And the other
 inconsistent with the Trustee's suggestion            decisions cited by the Trustee did not even
 that an individual can be an insider "at the          look to the statutory text in reaching their
 time of [a] transfer" if he was an insider            conclusions. For example, the court in In re
 when the transfer was arranged - that is,             F & S Cent. Mfg. Corp. - again, decided
 before the transfer " [took] effect between           before Barnhill - simply concluded that
 the transferor and the transferee."                   "Section 54 7(b )( 4) was not intended to
                                                       allow those who are insiders to escape the
    The Trustee nevertheless cites four cases
                                                       insider provision by delaying . . . the date
for the proposition that "[a] creditor who is
                                                       the debtor transfers its property." 53 B.R. at
an insider at the time the transfer of the
                                                       849. But while the bankruptcy court in In re
debtor's property is arranged is an insider at
                                                       F & S Cent. Mfg. Corp. was free to
                                                  29
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speculate as to the intent of Congress, it was         F.3d 437, 441--42 (4th Cir. 1996) (rejecting
certainly not free to rewrite a statute that           the trustee's argument that "a transfer is not
was clear on its face. And, again, Section             a single occurrence, but rather a related
547(6)(4)(B)   expressly   provides    that   a        sequence of events[,]" and explaining that
trustee may avoid preference payments                  the Supreme Court in Barnhill "clearly held
made "between ninety days and one year                 that a transfer ... is a single event occurring
before the date of the filing of the petition"         at a definite moment in time[.]"). 14
only if the creditor receiving those payments
was an insider "at the time of such transfer."             In light of this authority, the Court
                                                       agrees that, in order to state a claim for
    Moreover, with only one exception,                 avoidance of a preference payment under
every court to have considered the issue               Section 547(b)(4)(B) that was made more
since Barnhill has concluded that the                  than ninety days prior to a bankruptcy filing,
transferee must be an insider on the exact             a bankruptcy trustee must allege that the
date when the transfer was effected in order           transferees were insiders at the exact
for Section 547(b)(4)(B) to apply. See, e.g.,          moment when the transfers were effected.
In re Incentium, LLC, 473 B.R. 264, 273
(Bankr. E.D. Tenn. 2012) ("[T]he court                           2. Failure to State a Claim
holds that the transferee must constitute an
                                                           Here, the Trustee has failed to allege that
insider at the time the transfer was made,
                                                       the Motion 7 Defendants were insiders on
and that it is not enough that the transferee
                                                       the exact date that the Motion 7 Transfers
be an insider at the time the transfer was
                                                       were made. In Count 35 of the FitzSimons
arranged. This holding is consistent with
                                                       Complaint, the Trustee alleges that the
virtually all of the cases that have examined
                                                       Motion 7 Defendants were insiders "at the
the issue in the last twenty years.");
                                                       time of the [LBO]." 15 (FitzSimons Comp!. ,-r
Capmark Fin. Grp. Inc. v. Goldman Sachs
Credit Partners L.P., 491 B.R. 335, 344
(S.D.N.Y. 2013) ("[T]he language of section            14
                                                          The one court to uphold the "arranged-transfer"
547(b)(4)(B)      states   that an      insider        approach post-Barnhill made no mention of Barnhill
                                                       while relying on the now discredited opinions in In re
relationship is to be determined on the exact          F & S Central Mfg. Corp. and In re EECO Inc. See
date of the challenged transfer." (quoting             In re Consol. Indus. Corp., 292 B.R. at 363.
Collier on Bankruptcy i-1 547.03[6] n.113));           15 Paragraph 643 of the FitzSimons Complaint reads:
Stanley v. U.S. Bank, Nat. Ass 'n, 2008 WL             "The D&O Defendants, the Subsidiary D&O
8866400, at *4 (S.D. Tex. Sept. 23,                    Defendants, and the Additional Officer Recipients
                                                       were insiders as defined by Section 101 (31) of the
2008), a[f'd sub nom. In re TransTexas Gas             Bankruptcy Code at the time of the transaction."
Corp., 597 F.3d 298 (5th Cir. 2010) (holding           (FitzSimons Comp!. ~ 643.) The term "transaction,"
                                                       while not expressly defined, clearly refers to the LBO
that the "Bankruptcy Court erred in adopting
                                                       throughout the FitzSimons Complaint. (See, e.g., id.
the 'arranged-transfer' approach" in light of          ~~ 1, 18, 119, 167, 177, 180, 181, 182, 183,197,211

Barnhill.); Butler v. David Shaw, Inc., 72             (using the term "transaction" to refer to the LBO).)

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643; see also id. ,-i,-i 27, 43, 50-52, 58-61,             See also In re Caremerica, Inc., 409 B.R.
64, 65, 67 (explaining how each of the                     737, 753 (Bankr. E.D.N.C. 2009) ("The
Motion 7 Defendants named in the                           trustee's assertion that the defendants 'are
FitzSimons     Complaint      were    related   to         insiders as that term is defined in § 101(31)
Tribune "at the time of the LBO.").)                       and used in § 547(b)' is conclusory and
However, the Trustee fails to allege that any              insufficient without supporting facts."). 17
of the these Defendants remained Tribune
insiders at the time the Motion 7 Transfers                    Perhaps     recognizing   this    glaring
were actually made.       Thus, the Court                  deficiency, the Trustee argues that the Tag-
concludes that the Trustee has failed to state             Along Complaints imply that the Tag-Along
a claim for avoidance of the Motion 7                      Defendants were officers of Tribune
Transfers in the FitzSimons Complaint. 16                  insomuch as they explain - in a section titled
                                                           "Zell Induces The FitzSimons Officer
    For the same reasons, Count 1 of the                   Defendants And FitzSimons Subsidiary
Tag-Along Complaints must also be                          D&O Defendants To Recommend And
dismissed.        Indeed, the Tag-Along                    Facilitate the LBO" - that "[t]he LBO also
Complaints fail to allege any facts                        triggered enormous 'change of control'
demonstrating       that    the    Tag-Along               severance payments . . . for officers let go
Defendants were ever insiders of Tribune,                  after the LBO .... " (See, e.g., 13-cv-3736,
and utterly fail to explain what relationship,             Doc. No. 21 ,-i 142.) However, paragraph
if any, each of the Tag-Along Defendants                   142 of the Tag-Along Complaints, which
had to Tribune. The conclusory assertion                   appears to refer exclusively to the
that each Tag-Along Defendant "was an                      Defendants named in the FitzSimons
insider as defined by section 101 (31) of the              Complaint, does not mention the Tag-Along
Bankruptcy Code at the time the Transfer                   Defendants at all. Indeed, it is not clear
occurred and/or was arranged" (see, e.g.,                  from the face of the Tag-Along Complaints
13-cv-3736, Doc. No. 21 ,-i 97 (emphasis                   that the Motion 7 Transfers at issue here are
added)) is clearly insufficient, since "[a]                one and the same as the severance payments
pleading that offers labels and conclusions                discussed in paragraph 142. (See id. ,-i 141
or a formulaic recitation of the elements of a             (explaining that the "FitzSimons Officer
cause of action will not do[,]" Iqbal, 556                 Defendants ... all received Success Bonus
U.S. at 678 (internal quotations omitted).                 Payments       and/or    Phantom      Equity
                                                           Payments[,]" but failing to mention the Tag-
                                                           Along Defendants at all.)       Accordingly,
16
    Because the Motion 7 Defendants only moved to
dismiss Count 35 with respect to payments made
                                                           17
more than ninety days prior to Tribune's bankruptcy           Moreover, the Trustee admits in his oppos1t1on
filing, Count 35 remains as to Defendant John J.           brief that all of the Tag-Along Defendants were "let
Vitanovec - the only Motion 7 Defendant who was            go after the LBO" and were therefore no longer
paid on or after September 9, 2008. (See FitzSimons        insiders when they received the Motion 7 Transfers.
Comp!., Ex. C.)                                            (Opp'n at 108 (internal quotations omitted).)

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because the Trustee fails to do more than                       understand the exact changes sought."
simply restate the elements of a Section                        (internal quotation marks omitted)). In other
547(b) claim, Count 1 of the Tag-Along                          words, the Trustee has "identified no
Complaints must also be dismissed. 18                           additional facts or legal theories ... [he]
                                                                might assert if given leave to amend." City
             IV. LEA VE TO AMEND                                of Pontiac Policemen 's & Firemen 's Ret.
                                                                Sys. v. UBS AG, 752 F.3d 173, 188 (2d Cir.
    Rule l 5(a) of the Federal Rules of Civil
                                                                2014). Accordingly, the Trustee's request to
Procedure provides that leave to amend
                                                                amend is DENIED.
"shall be freely given when justice so
requires." McCarty v. Dun & Bradstreet                                         V. CONCLUSION
Corp., 482 F.3d 184, 200 (2d Cir. 2007).
Nevertheless, "it is within the sound                               For the foregoing reasons, IT IS
discretion of the [court] to grant or deny                      HEREBY ORDERED THAT the motions of
leave to amend." Id.                                            Defendants Monsma, the Chandler Trusts,
                                                                the Foundations, and the Chandler Directors
    Here, the Trustee makes a request to                        are GRANTED in their entirety. IT IS
amend in the final section of his opposition                    FURTHER ORDERED THAT the Motion 6
brief. (Opp'n at 143-45.) However, as                           Defendants' motion to dismiss Count 34 of
noted in the Court's January 6, 2017                            the FitzSimons Complaint and Count 2 of
Opinion and Order, the Trustee has not                          the Tag-Along Complaints is GRANTED.
attached a proposed amended complaint, and                      IT IS FURTHER ORDERED THAT the
gives "no clue as to how the complaint's                        Motion 7 Defendants' motion to dismiss
defects would be cured." Loreley, 797 F.3d                      Count 35 of the FitzSimons Complaint and
at 190 (internal quotations omitted); see also                  Count 1 of the Tag-Along Complaints is
Bankr. Trust of Gerard Sillam v. Refco Grp.,                    also GRANTED. 19
LLC, No. 05-cv-10072 (GEL), 2006 WL
212 9786, at *5 (noting that Rule 7 (b)                             The Clerk of Court is respectfully
'·generally requires a movant to supply a                       directed to terminate the motions pending at:
copy of the proposed amendment ... so that                      docket numbers 5939, 5938, 5942, 5933,
both the Court and the opposing parties can                     and 5928 in case number l l-md-2296;
                                                                docket numbers 4460, 4463, 4465, 4542,
                                                                and 4539 in case number 12-cv-2652;
18
   As with Motion 6, to the extent that the arguments           docket number 34 in case number 13-cv-
set forth in Motion 7 apply to other, similarly situated
defendants who did not join the motion, such as                 3736; docket numbers 41 and 38 in case
Vincent A. Malcolm, Marc S. Schacher, William P.                number 13-cv-3737; docket number 34 in
Shaw, and Joseph A. Young, the Court also dismisses
the claims set forth in Count 35 of the FitzSimons
                                                                19
Complaint and Count I of the Tag-Along Complaints                 As noted above, the Trustee may proceed on Count
against those defendants. See Wachtler, 35 F.3d at              35 with respect to Defendant Yitanovec for payments
82.                                                             made on or after September 9, 2008.

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         case number 13-cv-3739; docket number 29                          Defendant Monsma is represented by
         in case number 13-cv-3740; docket number                      Mark A. Neubauer of Carlton Fields Jorden
         35 in case number 13-cv-3741; docket                          Burt, LLP. The Foundations are represented
         numbers 37 and 34 in case number l 3-cv-                      by David C. Bohan and John P. Sieger of
         3742; docket number 35 in case number 13-                     Katten Muchin Rosenman LLP.           The
         cv-3743; docket number 38 in case number                      Chandler Trusts and the Chandler Directors
         13-cv-3744; docket number 29 in case                          are represented by Joel A. Feuer, Oscar
         number 13-cv-3745; docket numbers 34 and                      Garza, and Douglas G. Levin of Gibson,
         37 in case number 13-cv-3746; docket                          Dunn & Crutcher LLP. The Motion 6
         number 29 in case number 13-cv-3748; the                      Defendants are represented by Mark S.
         motion pending at docket number 35 in case                    Melickian of Sugar Felsenthal Grais and
         number 13-cv-3750; the motion pending at                      Hammer LLP; George R. Dougherty of
         docket number 34 in case number 13-cv-                        Gripp & Elden LLC; and Blake T. Hannafan
         3 7 51; and the motion pending at docket                      of Hannafan & Hannafan LTD. The Motion
         number 34 in 13-cv-3753. The Clerk of                         7 Defendants are represented by George
         Court is also respectfully directed to                        Dougherty of Grippo & Elden LLC; Michael
         terminate Defendant Monsma, the Chandler                      R. Dockterman of Edwards Wildman Palmer
         Trusts, the Foundations, and the Chandler                     LLP; Mark S. Melickian of Sugar Felsenthal
         Directors from this action.                                   Grais and Hammer LLP; Frances Gecker of
                                                                       Frank Gecker LLP; and Blake T. Hannafan
         SO O R D E R E ~                     ,,P~~                    ofHannafan & Hannafan LTD.
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                      RICHARD J. SULLIVAN
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                       United States Circuit Judge
                       Sitting by Designation

         Dated: November 30, 2018
                New York, New York

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            The Trustee is represented by David M.
         Zensky of Akin Gump Strauss Hauer & Feld
         LLP; Jeffrey T. Golenbock of Golenbock
         Eiseman Assor Bell & Peskoe LLP; and
         Michael L. Waldman of Robbins, Russell,
         Englert, Orseck, Untereiner & Sauber LLP.

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